                                 Case 19-12123                  Doc 1        Filed 09/29/19           Page 1 of 31

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           District of Delaware
                                       (State)                                                                                    ☐ Check if this is an
Case number (if known):                                       Chapter   11                                                            amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Alameda Holdings, LLC


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                          3880 N. Mission Road
                                          Number           Street                                     Number         Street


                                                                                                      P.O. Box
                                          Los Angeles, California 90031
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Los Angeles
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 www.forever21.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor            Alameda Holdings, LLC                                           Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          4481 (Clothing Stores)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                              4/01/22 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                          When                        Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                          When                        Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                  Relationship    Affiliate
                                                 Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    District of Delaware                              When
     List all cases. If more than 1,                                                                                           9/29/2019
     attach a separate list.                    Case number, if known _______________________                                  MM / DD / YYYY

     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor           Alameda Holdings, LLC                                              Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                 ☐    It needs to be physically secured or protected from the weather.

                                                 ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                      other options).
                                                 ☐    Other


                                                 Where is the property?
                                                                                     Number          Street



                                                                                     City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.     Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
    creditors (on a                   ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
    consolidated basis)               ☐     100-199                    ☐     10,001-25,000                      ☒    More than 100,000
                                      ☐     200-999



15. Estimated assets (on a            ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
    consolidated basis)               ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☒   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                                Case 19-12123                Doc 1         Filed 09/29/19              Page 4 of 31

Debtor           Alameda Holdings, LLC                                                Case number (it known)
          Name


16. Estimated liabilities (on        □       $0-$50,000                  □     $1,000,001-$10 million                 □ $500,000,001-$1 billion
    a consolidated basis)            □       $50,001-$100,000            □     $10,000,001-$50 million                lg] $1,000,000,001-$10 billion
                                     □       $100,001-$500,000           □     $50,000,001-$100 million               □ $10,000,000,001-$50 billion
                                     □       $500,001-$1 million         □     $100,000,001-$500 million              □ More than $50 billion
                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of       petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            9/29/2019
                                                              MM/ DD / YYYY


                                               Isl                                                                 Brad Sell
                                              Signature of authorized represeniative of debtor                 Printed name

                                              Title   Chief Financial Officer




18. Signature of attorney             X        /s/ Laura Davis Jones                                           Date      9/29/2019
                                              Signature of attorney for debtor                                         MM/ DD/YYYY



                                              Laura Davis Jones
                                              Printed name
                                              Pachulski Stang Ziehl & Jones LLP
                                              Firm name
                                              919 North Market Street, 17th Floor, P.O. Box 8705
                                              Number                 Street
                                              Wilmington                                                          Delaware             19899-8705
                                              City                                                                 State               ZIP Code
                                              (302) 652-4100                                                       ljones@pszjlaw.com
                                              Contact phone                                                             Email address
                                              2436                                                 Delaware
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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    Fill in this information to identify the case:


    United States Bankruptcy Court for the:
                           District of Delaware
                                             (State)                                             ☐ Check if this is an
    Case number (if                                                                                  amended filing
    known):                                            Chapter   11


                                            Rider 1
             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Debtor Forever 21, Inc.

          Forever 21, Inc.
          Alameda Holdings, LLC
          Forever 21 International Holdings, Inc.
          Forever 21 Logistics, LLC
          Forever 21 Real Estate Holdings, LLC
          Forever 21 Retail, Inc.
          Innovative Brand Partners, LLC
          Riley Rose, LLC
                                         Case 19-12123                   Doc 1          Filed 09/29/19                Page 6 of 31

    Fill in this information to identify the case:
    Debtor name: Forever 21, Inc.
    United States Bankruptcy Court for the: ________________ District of __Delaware__
    Case number (If known): ______________                                                                                        Check if this is an amended
                                                                                                                                   filing
    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured
    Claims and Are Not Insiders                                    12/15
    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
    not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
    unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest unsecured claims.

                                                                                                                                  Amount of unsecured claim
                                                                                                                                  If the claim is fully unsecured, fill in only unsecured
                                                                                                                                  claim amount. If claim is partially secured, fill in total
                                                                                                             Indicate if claim is claim amount and deduction for value of collateral or
       Name of creditor and complete mailing        Name, telephone number, and email                                             setoff to calculate unsecured claim.
                                                                                         Nature of the claim    contingent,
           address, including zip code                 address of creditor contact
                                                                                                               unliquidated,
                                                                                                                                                        Deduction for
                                                                                                                  disputed
                                                                                                                                  Total claim, if       value of           Unsecured
                                                                                                                                  partially secured collateral or claim
                                                                                                                                                        setoff
1   KNF INTERNATIONAL CO., LTD                   Mr. Ma                                  Trade Payable                                                                     $13,420,525
    3F, 958-22, DAICHI-DONG, KANGNAM-GU          President
    SEOUL,
    SOUTH KOREA                                  PHONE: 821053191073
                                                 EMAIL: samma@knf-international.com



2   PRAXTON COMMERCIAL CORP.                     Meynardo M. Mendoza                     Loan Agreement                                                                   $13,165,681
    BLK 3 LOT 8 DONA ANDENG ST.                  VP - Controllership
    BAYAN, LUMA, IMUS, CAVITE, 4103
    PHILIPPINES                                  PHONE: +63 (2) 804 - 0478
                                                 +63 (918) 985 - 8804
                                                 EMAIL: Meynard.M.Mendoza@sm-
                                                 shoemart.com

3   C&C NANTONG CATHAY CLOTHING CO               Andy Wang                               Trade Payable                                                                    $12,887,946
    LTD                                          CEO
    ROOM 1603, NO.33 GONGNONG ROAD
    NANTONG, 226100                              PHONE: 8613906293660
    CHINA                                        EMAIL: andywang@cathayclothing.com



4   INTEC LTD                                    SungSoo Kim                             Trade Payable                                                                    $10,387,067
    18FL, CENTERPOINT SEOCHO BD 304,             Owner
    HYORYEONG-RO
    SEOCHO-GU, 06720                             PHONE: 44-(0)742-592-3863
    SOUTH KOREA                                  EMAIL: sskim@intecltd.com


5   CRS DENIM GARMENTS EGYPT S.A.E               Cemil Kolunsag                          Trade Payable                                                                    $9,797,863
    PORT SAID PUBLIC INVESRMENT FREE             Board Chairman
    ZOONE EGYPT
    PORT SAID,                                   PHONE: 902125502929
    EGYPT

6   SUZHOU TJ/NOVAE INT'L                        Dunhua Zhen/Benchao Benjamin Zhen       Trade Payable                                                                    $8,685,357
    NO.463 PUBEI RD., LUXU TOWN                  Owner
    SUZHOU, 215000
    CHINA                                        PHONE: 909-595-6088 ext. 125
                                                 EMAIL: nancy@anfieldinc.com
                                                 benjamin.z@anfieldinc.com

7   KUKDONG CORPORATION                          SK Byun                                 Trade Payable                                                                    $8,292,758
    7F, DONGBO BLDG., 405 CHOENHO-               CEO
    DAERO
    DONGDAEMUN-GU,                               PHONE: 821052617712
    SOUTH KOREA                                  EMAIL: skbyun@kd.co.kr
Debtor Name     Forever 21, Inc.
                                             Case 19-12123                   Doc 1            Filed 09/29/19 CasePage    7 of 31
                                                                                                                  Number (if known) ______________________________________



                                                                                                                                            Amount of unsecured claim
                                                                                                                                            If the claim is fully unsecured, fill in only unsecured
                                                                                                                                            claim amount. If claim is partially secured, fill in total
                                                                                                                       Indicate if claim is claim amount and deduction for value of collateral or
            Name of creditor and complete mailing     Name, telephone number, and email                                                     setoff to calculate unsecured claim.
                                                                                                  Nature of the claim      contingent,
                address, including zip code              address of creditor contact
                                                                                                                         unliquidated,
                                                                                                                                                                  Deduction for
                                                                                                                            disputed
                                                                                                                                            Total claim, if       value of           Unsecured
                                                                                                                                            partially secured collateral or claim
                                                                                                                                                                  setoff
  8    SIMON PROPERTY GROUP                         Steven E. Fivel                               Rent                Unliquidated                                                   $8,133,084
       225 WEST WASHINGTON STREET                   General Counsel
       INDIANAPOLIS, IN 46204-3438
                                                    PHONE: 317.263.7962
                                                    EMAIL: sfivel@simon.com




  9    KISOO K. TRADING CO., LTD                    SK Kim - CEO                                  Trade Payable                                                                     $7,859,731
       # 4TH FL, JAEYOUNG BLDG 63                   Michelle Park - CFO
       NONHYEON- RO 31 GIL,
       SEOCHO-GU, 135-080
       SOUTH KOREA
                                                    PHONE: 82-70-7098-8751
                                                    EMAIL: ykkim@kisoo1.co.kr
                                                    michelle.p@kisoo1.co.kr

  10   A & E CLOTHING INC                           Eunice Chung                                  Trade Payable                                                                     $7,469,873
       3200 WILSHIRE BLVD #1204 NT                  President
       LOS ANGELES, CA 90010-1333
                                                    PHONE: 12139256439
                                                    EMAIL: chung@aneclothing.com


  11   LAFAYETTE ENGINEERING, INC                   Bruce Robin                                   Trade Payable                                                                     $7,043,530
       2405 LEBANON ROAD                            Owner
       DANVILLE, KY 40422
                                                    PHONE: 8595839540
                                                    EMAIL: bruce.robbins@lafayette-
                                                    engineering.com
  12   NANTONG Z&Z GARMENT CO., LTD                 Michael Cao                                   Trade Payable                                                                     $6,701,249
       NO.298 YINGYUAN ROAD, TONGZHOU               President
       ZONE,
       NANTONG CITY,                                PHONE: 8613776965308
       CHINA                                        EMAIL: Jing@zz-garment.com

  13   LEUKON INC.                                  Mr. Ahn                                       Trade Payable                                                                     $6,455,752
       2F, 780-14 YEOKSAM-2DONG, GANGNAM-           CEO
       GU
       SEOUL,                                       PHONE: 821088881193
       SOUTH KOREA                                  EMAIL: ksahn@leukon.co.kr

  14   NANTONG D&J FASHION CO., LTD        David Wang                                             Trade Payable                                                                     $6,144,482
       ROOM 1303-1304, NO. 33 BONGNONG ROD Owner
       NANTONG,
       CHINA                               PHONE: 86-138-629-63062
                                           EMAIL: david@djfashion.com.cn
  15   BROOKFIELD PROPERTIES                        Stacie L. Herron                              Rent                  Unliquidated                                                $5,289,351
       CHICAGO OFFICE                               EVP & General Counsel
       350 N ORLEANS ST., SUITE 300
       CHICAGO, IL 60654                            PHONE: 312.960.5253; 312.560.8798
                                                    EMAIL:
                                                    stacie.herron@brookfieldpropertiesretail.co
                                                    m


  16   BRISTAR (H.K.) INTERNATIONAL TRADIN          John Yun                                      Trade Payable                                                                     $5,226,407
       ROOM NO. 19-1106, NO 1515 GUMEI ROAD         General Manager
       XUHUI DISTRICT
       SHANGHAI,                                    PHONE: 86-153-0618-0919
       CHINA                                        EMAIL: john.hk@bristar-hk.com




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Debtor Name     Forever 21, Inc.
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                                                                                                              Number (if known) ______________________________________



                                                                                                                                     Amount of unsecured claim
                                                                                                                                     If the claim is fully unsecured, fill in only unsecured
                                                                                                                                     claim amount. If claim is partially secured, fill in total
                                                                                                                Indicate if claim is claim amount and deduction for value of collateral or
            Name of creditor and complete mailing     Name, telephone number, and email                                              setoff to calculate unsecured claim.
                                                                                            Nature of the claim    contingent,
                address, including zip code              address of creditor contact
                                                                                                                  unliquidated,
                                                                                                                                                           Deduction for
                                                                                                                     disputed
                                                                                                                                     Total claim, if       value of           Unsecured
                                                                                                                                     partially secured collateral or claim
                                                                                                                                                           setoff
  17   ANHUI MEI&BANG INTERNATIONAL                 Shine Sun                               Trade Payable                                                                     $5,215,871
       TRADE                                        Owner
       NO.2 SHUANGSHUI RD. DAYANG
       LUYANG DISTRIC HEFEI,                        PHONE: 86-551-62260069
       CHINA                                        EMAIL: shinesun@mbmydear.com



  18   IN KYUNG APPAREL                             Mr. Oh                                  Trade Payable                                                                    $4,867,266
       5F INKYUNG BLDG 37, JANGHAN-RO               CEO
       DONGDAEMUN-GU
       SEOUL, 02629                                 PHONE: 821033707488
       SOUTH KOREA                                  EMAIL: ik0722@inkyungapparel.co.kr


  19   DILONG FASHION INC.                          Manson                                  Trade Payable                                                                    $4,760,829
       1358,NANYUAN WEST RD,QIDONG                  Owner
       CITY,JIANG SU PROVINCE
       QIDONG,                                      EMAIL: Manson@dilongfashion.com
       CHINA

  20   YOUNG PLUS TRADING HK. CO., LTD              Amy Fu                                  Trade Payable                                                                    $4,079,608
       RM 1111, NO.240 FUYOUCAIZHI                  General Manager
       GUANGZHOU CITY,
       CHINA                                        EMAIL: amypu@bonglimtrading.com



  21   C&D GARMENTS CO., LIMITED                    David Wang                              Trade Payable                                                                    $3,850,110
       ROOM 909 9/F TOWER 2 GRAND PLAZA             Owner
       665 NATHAN ROAD
       MONG KOK,                                    PHONE: 86-139-122-59203
       HONG KONG                                    EMAIL: jessica@canddgarments.com

  22   TABITHA APPAREL CO.,LTD                      Christine Park                          Trade Payable                                                                    $3,839,243
       2F, 126 HOANG HOA THAM, WARD 12,             Owner
       TAN BINH DISTRICT 6TH FLOOR
       HOCHIMINH CITY, 70099                        PHONE: 84-90-923-7157
       VIETNAM                                      82 10 5222 7157
                                                    EMAIL: christine@tbta.co.kr
  23   FEDEX                                        Rick Maloney                            Trade Payable                                                                    $3,425,666
       PO BOX 7221                                  Ecommerce Director
       PASADENA, CA 91109-7321
                                                    PHONE: 702-233-2428
                                                    EMAIL: rmaloney@fedex.com

  24   MARJO APPAREL                                Kay Chung                               Trade Payable                                                                    $3,419,850
       RM 501, HUN GI BLDG 548-4, SHIINSA-          Sam Park
       DONG, KANGNAM-KU                             Owner
       SEOUL,
       SOUTH KOREA                                  PHONE: 82-10-6215-2891
                                                    EMAIL: chung@marjokor.com


  25   CHINA STAGE/ZHEJIANG C STAGE                 Larry Liu                               Trade Payable                                                                    $3,216,213
       IMPORT                                       CEO
       2FL A9BLDG 9# JIUSHENG ROAD HZ. ZJ.
       HANGZHOU, 31001
       CHINA                                        PHONE: 8657186729619
                                                    EMAIL: larry@stagegroup.com
  26   B-HEIM CORP.                                 Mr. Kwak                                Trade Payable                                                                    $3,215,177
       1302 KOLON DIGITAL TOWER BILLANT II          CEO
       SEOUL,
       SOUTH KOREA                                  PHONE: 821022141796
                                                    EMAIL: yckwak@bheim.co.kr




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Debtor Name     Forever 21, Inc.
                                             Case 19-12123                Doc 1            Filed 09/29/19 CasePage    9 of 31
                                                                                                               Number (if known) ______________________________________



                                                                                                                                      Amount of unsecured claim
                                                                                                                                      If the claim is fully unsecured, fill in only unsecured
                                                                                                                                      claim amount. If claim is partially secured, fill in total
                                                                                                                 Indicate if claim is claim amount and deduction for value of collateral or
            Name of creditor and complete mailing     Name, telephone number, and email                                               setoff to calculate unsecured claim.
                                                                                             Nature of the claim    contingent,
                address, including zip code              address of creditor contact
                                                                                                                   unliquidated,
                                                                                                                                                            Deduction for
                                                                                                                      disputed
                                                                                                                                      Total claim, if       value of           Unsecured
                                                                                                                                      partially secured collateral or claim
                                                                                                                                                            setoff
  27   NEW CENTURY TEXTILES LTD                     Mr. Lan - Owner                          Trade Payable                                                                     $3,192,278
       3C NO 1238 WUZHONG ROAD                      Mr. Cater - Manager
       SHANGHAI,
       CHINA


                                                    PHONE: 86-159 0063 6446
                                                    EMAIL: Lan@newcenturytextiles.com;
                                                    Cater@newcenturytextiles.com




  28   GUANGZHOU YONGHENG FASHION                   Xu Yan Hua                               Trade Payable                                                                    $3,110,809
       GROUP CO                                     CEO
       XIAN SHUI LING ROAD, JINSHI AVE, SHI
       LING TOWN, HUADU DISTRI                      PHONE: 86-20-86910128
       GUANGZHOU CITY,                              EMAIL: yh_group@yongheng-fg.com
       CHINA


  29   DONGSUH INTERNATIONAL CO., LTD.              JS Kim                                   Trade Payable                                                                    $3,062,415
       904, DAEJONG BLDG BLDG. 143-48,              Cathy Chung
       SAMSUNG-DONG, GANGNAM-GU                     Owner
       SEOUL,
       SOUTH KOREA                                  PHONE: 82-2-567-6711
                                                    82-10-9163-9447
                                                    EMAIL: jskim@dong-suh.com;
                                                    cchung@dong-suh.com


  30   ROC RISE INDUSTRIAL                          Ellen Wong                               Trade Payable                                                                    $3,057,605
       RM 10, 6/F, LAURELS INDUSTRIAL               Owner
       CENTRE, 32 TAI YAU ST, SANPOK
       KOWLOON, 999077                              PHONE: 85296438457
       HONG KONG                                    EMAIL: ellen@rocrise.com

  31   RELIABLE INDUSTRIES LTD                      Daniel Cheng                             Trade Payable                                                                    $3,047,485
       UNIT 1503-04 15/F SEAPOWER CENTER 73-        Owner
       77
       LEI-MUK RD,                                  PHONE: 852 2619-0380
       HONG KONG                                    EMAIL: daniel@reliable-hkg.com



  32   BONA INDUSTRIAL CO., LIMITED                 Kelly Jin                                Trade Payable                                                                    $3,006,903
       11/F CAPITAL CENTRE 151 GLOUCESTER           General Manager
       ROAD WANCHAI
       HONG KONG, 202100                            PHONE: 021-51695866 Ext.809
       HONG KONG                                    EMAIL: kelly@linsheng.sh.cn



  33   WEIHAI DINGXIN TEXTILE CO., LTD.             Liu Dehai                                Trade Payable                                                                    $2,977,097
       79, SHICHANG RD., WEIHAI, SHANDONG           President
       SHANDONG,
       CHINA                                        PHONE: 0086 631 5865679
                                                    EMAIL: weigonzhao@dingxintextile.com


  34   REGENTEX APPAREL LIMITED                     Jiang Meifen                             Trade Payable                                                                    $2,902,903
       RM#1501, NO. 252. TIANDA LANE, SOUTH         Owner
       BUSINESS DISCTRIC , LIN
       NINGBO, 31519                                PHONE: 0574-88129703
       CHINA                                        EMAIL: lydia@regentexapparel.com




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Debtor Name     Forever 21, Inc.
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                                                                                                                     Case Number (if known) ______________________________________



                                                                                                                                     Amount of unsecured claim
                                                                                                                                     If the claim is fully unsecured, fill in only unsecured
                                                                                                                                     claim amount. If claim is partially secured, fill in total
                                                                                                                Indicate if claim is claim amount and deduction for value of collateral or
            Name of creditor and complete mailing     Name, telephone number, and email                                              setoff to calculate unsecured claim.
                                                                                            Nature of the claim    contingent,
                address, including zip code              address of creditor contact
                                                                                                                  unliquidated,
                                                                                                                                                           Deduction for
                                                                                                                     disputed
                                                                                                                                     Total claim, if       value of           Unsecured
                                                                                                                                     partially secured collateral or claim
                                                                                                                                                           setoff
  35   ANYCLO INT'L                                 Hopkins                                 Trade Payable                                                                     $2,898,558
       6F, 336, HAKDONG-RO                          CEO
       GANGNAM-GU, 135-080
       SOUTH KOREA                                  PHONE: 821045290006
                                                    EMAIL: hopkins@anyclo.com


  36   SAE-A TRADING CO.,LTD                        MK Kim                                  Trade Payable                                                                    $2,814,222
       SAE-A BLDG.946-12 DAECHI                     Senior director
       DONG,KANGNAMGU
       SEOUL,                                       PHONE: 82262527400
       SOUTH KOREA                                  EMAIL: mkkim@sae-a.com


  37   PALMY TIMES (HK) LIMITED                     Sherman Ma                              Trade Payable                                                                    $2,702,925
       SUITES 1801-02, 18/F ALLIANCE                Managing Director
       BUILDING, 130-136 CONNAUGHT RO
       CENTRAL SHEUNG WAN,                          PHONE: 86-51268766862
       HONG KONG                                    EMAIL: sherman@palmytimes.com




  38   MACERICH                                     Bill Palmer                             Rent                  Unliquidated                                               $2,697,020
       1162 PITTSFORD-VICTOR ROAD, SUITE            AVP Asset Management
       100
       PITTSFORD, NY 14534                          PHONE: 585.249.4421
                                                    EMAIL: Bill.palmer@macerich.com




  39   SUPERFIT LTD                                 William Lee                             Trade Payable                                                                    $2,656,828
       UNIT 1806, 18/F, PARK-IN COMMERCIAL          Betty Chan
       CENTRE 56 DUNDAS ST., MO                     Owner
       HONG KONG, 1111
       HONG KONG                                    PHONE: 626-283-0939
                                                    EMAIL: wlee2233@yahoo.com.hk
                                                    bettywkchan@gmail.com

  40   WESTFIELD (URW)                              Niclas A. Ferland                       Rent                  Unliquidated                                               $2,509,589
       BARCLAY DAMON                                Partner
       545 LONG WHARF DRIVE
       NEW HAVEN, CT 06511                          PHONE: (203) 672-2667; (203) 584-2331
                                                    FAX: (203) 654-3274
                                                    EMAIL: NFerland@barclaydamon.com




  41   GUANGZHOU JIAYIWU FASHION CO., LTD           Mingpeng Xiong                          Trade Payable                                                                    $2,395,194
       FLOOR 5 NO 11, THE 9TH INDUSTRY DAPU         Owner
       XINXHI TOWN, BAIYUN DIS
       GUANGZHOU,                                   PHONE: 86-020-36608178
       CHINA                                        EMAIL: Tony@gwports.com




  42   JIANGSU GTIG EASTAR CO., LTD                 Mark Zhao                               Trade Payable                                                                    $2,364,309
       23-29 FLOOR,GUOTAI NEW CENTURY               CEO
       PLAZA,125 RENMIN ROAD
       ZHANGJIAGANG,                                PHONE: 8613806225883
       CHINA                                        EMAIL: Mark_Zhao@gtig-eastar.com




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Debtor Name     Forever 21, Inc.
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                                                                                                                     Case Number (if known) ______________________________________



                                                                                                                                     Amount of unsecured claim
                                                                                                                                     If the claim is fully unsecured, fill in only unsecured
                                                                                                                                     claim amount. If claim is partially secured, fill in total
                                                                                                                Indicate if claim is claim amount and deduction for value of collateral or
            Name of creditor and complete mailing     Name, telephone number, and email                                              setoff to calculate unsecured claim.
                                                                                            Nature of the claim    contingent,
                address, including zip code              address of creditor contact
                                                                                                                  unliquidated,
                                                                                                                                                           Deduction for
                                                                                                                     disputed
                                                                                                                                     Total claim, if       value of           Unsecured
                                                                                                                                     partially secured collateral or claim
                                                                                                                                                           setoff
  43   NINGBO LONG-LAN FASHION GARMENT              Ada Ge                                  Trade Payable                                                                     $2,323,792
       INC                                          Manager
       60-B DONG FENG ROAD EAST
       INDUSTRIAL OF FENGHUA                        PHONE: 86-574-88408805
       MAOTOU VILLAGE, CHUNHU TOWN,                 EMAIL: adage@longlanfs.com
       FENGHUA NIN
       NINGBO, 315500
       CHINA


  44   SUZHOU FLYING FASHIONS CO. LTD               Hui Jianxin (Jason)                     Trade Payable                                                                    $2,323,694
       NO283 TONGDA ROAD WUZHONG                    CEO
       SUZHOU NO 100 EAST SHI HU ROAD
       SUZHOU,                                      PHONE: 86-512-65911949
       CHINA                                        EMAIL: jason@suzhouflying.com


  45   TARAE CO., LTD                               Mook                                    Trade Payable                                                                    $2,306,488
       607 SUPER STAR TOWER 10,                     CEO
       SUJEONG-GU,
       SOUTH KOREA                                  EMAIL: mookkim@tarae.co

  46   VORNADO REALTY TRUST                         David Greenbaum                         Rent                  Unliquidated                                               $2,259,980
       888 SEVENTH AVENUE                           Vice Chairman
       44TH FLOOR
       NEW YORK, NY 10019                           PHONE: 212-894-7405
                                                    EMAIL: Dgreenbaum@vno.com

  47   AXXYS CONSTRUCTION GROUP, INC                Nate Sanders                            Trade Payable                                                                    $2,247,994
       4101 NICOLS ROAD SUITE 100                   Retail Construction Director
       EAGAN, MN 55122
                                                    PHONE: 612.800.7878, ext. 501
                                                    FAX: 877.588.0989
                                                    EMAIL: nsanders@axxysconstruction.com




  48   HUNCHUN SUNNY GROUP CO., LTD                 Lizhe Jun - President                   Trade Payable                                                                    $2,190,628
       RM #608 HUANGGUAN PLAZA, YINGCHUN            Annie - General Manager
       RD. HUNCHUN CITY, JINLIN P
       HUNCHUN CITY, 11111                          EMAIL: lizhejun@sunnyapparel.com.cn
       CHINA                                        sunnyprice@sunnyapparel.com.cn




  49   SAMWOO APPAREL                               Mr. Park                                Trade Payable                                                                    $2,177,085
       GAJWA-DONG, B/ 2ND FLORR/ 36,                CEO
       BAEKBEOM-RO 630 BEON-GIL, SEO-
       INCHEON,                                     PHONE: 82269255560
       SOUTH KOREA                                  EMAIL: chanpark@samwoo.in


  50   L&C CORPORATION, INC.                        David                                   Trade Payable                                                                    $2,058,595
       4F DAESHIN B/D, 20, DOSANDAE-RO              President
       49GIL, GANGNAM-GU
       SEOUL, 06019                                 PHONE: 12133925730
       SOUTH KOREA                                  EMAIL: david@sidusgroupinc.com




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    ALAMEDA HOLDINGS, LLC,                                   )     Case No. 19-______ (___)
                                                             )
                              Debtor.                        )
                                                             )

                                     LIST OF EQUITY SECURITY HOLDERS1

                                                                                                    Percentage of
               Equity Holders                           Address of Equity Holder
                                                                                                     Equity Held
                                              3880 N. Mission Road, Los Angeles,
    Forever 21, Inc.                                                                                      100%
                                              California 90031




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007(a)(3) of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed are as of the date of the commencement of these cases.
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 ALAMEDA HOLDINGS, LLC                                )    Case No. 19-______ (___)
                                                      )
                          Debtor.                     )
                                                      )

                               CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 Forever 21, Inc.                                                              100%
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    ALAMEDA HOLDINGS, LLC                                    )     Case No. 19-___________(___)
                                                             )
                               Debtor.                       )
                                                             )


                                     CERTIFICATION OF CREDITOR MATRIX

        Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United
States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors
in possession (collectively, the “Debtors”)1 hereby certify that the Creditor Matrix submitted herewith
contains the names and addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the
Creditor Matrix is complete, correct, and consistent with Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records as of
the petition date. However, no comprehensive legal and/or factual investigations with regard to possible
defenses to any claims set forth in the Creditor Matrix have been completed. Therefore, the listing does
not, and should not, be deemed to constitute: (1) a waiver of any defense to any listed claims; (2) an
acknowledgement of the allowability of any listed claims; and/or (3) a waiver of any other right or legal
position of the Debtors.




1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Forever 21, Inc. (4795); Alameda Holdings, LLC (2379); Forever 21 International Holdings, Inc.
       (4904); Forever 21 Logistics, LLC (1956); Forever 21 Real Estate Holdings, LLC (4224); Forever 21 Retail, Inc.
       (7150); Innovative Brand Partners, LLC (7248); and Riley Rose, LLC (6928). The location of the Debtors’ service
       address is: 3880 N. Mission Road, Los Angeles, California 90031.
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                                          .   . .. '
                     '     '   ·-·· ..                       '
    Debtor Name           Alameda Holdinas, LLC

    United States Bankruptcy Court for the:                                         District of Delaware
                                                                                                   (State)
    Case number (If known):



Official Form 202
Declaration Under Penalty of Periury for Non-Individual Debtors 12115
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual's
position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



-              Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation: a member or an authorized agent
             of the partnership; or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the
             information is true and correct:

      •        Schedule AIB: Assets-Rea/ and Personal Properly (Official Form 206AIB)
      •        Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 2060)
      •        Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206EIF)
      •        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      •        Schedule H: Codebtors (Official Form 206H)
      •        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      D       Amended Schedule
      l2l      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not
               Insiders (Official Form 204)
       l2J     Other document that requires a declaration: List of Equity Security Holders. Corporate Ownership
               Statement. and Certification of Creditor Matrix

     I declare under penalty of perjury that the foregoing is true and correct.

      Executed on

                                         9/29/2019
                                         MM/DDNYYY                                Signature of individual signing on behalf of debtor
                                                                                  Brad Sell
                                                                                  Printed name
                                                                                  Chief Financial Officer
                                                                                  Position or relationship to debtor

Official Form 202                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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              OMNIBUS ACTION BY UNANIMOUS WRITTEN CONSENT
                            OF THE BOARDS OF
                             FOREVER 21, INC.,
                         FOREVER 21 RETAIL, INC.,
                FOREVER 21 INTERNATIONAL HOLDINGS, INC.,
                         ALAMEDA HOLDINGS, LLC,
                        FOREVER 21 LOGISTICS, LLC,
                  FOREVER 21 REAL ESTATE HOLDINGS, LLC,
                             RILEY ROSE, LLC,
                    INNOVATIVE BRAND PARTNERS, LLC,

                                   IN LIEU OF MEETINGS

                                       September 29, 2019

        The undersigned, being all of the members of the board of directors or the board of
managers, as applicable (each a “Board”, and collectively, the “Boards”) of FOREVER 21, INC.,
a Delaware corporation (the “Corporation,”) and each of its subsidiaries listed on Exhibit A
hereto (together with the Corporation, the “Managed Entities” and each, a “Managed Entity”),
by their signatures below or on a counterpart hereof, in lieu of holding a meeting of the Board,
hereby take the following actions and adopt the following resolutions by unanimous written
consent, pursuant to the bylaws or limited liability company agreement, as applicable
(each, an “Operating Agreement”), of each Managed Entity and the applicable laws of the
jurisdiction in which such Managed Entity is organized:

I.     Appointment of Chief Restructuring Officer

        WHEREAS, each Operating Agreement of each Managed Entity, sets forth that each Board
may appoint subordinate officers and agents as it shall deem necessary, who shall hold their offices
for such terms and shall exercise such powers and perform such duties as shall be determined from
time to time by such Board, without amendment to the Operating Agreement being required;

        WHEREAS, each Board deems it to be in the best interests of each applicable Managed
Entity to appoint a Chief Restructuring Officer to assist the Corporation and the Managed Entities
in their review, evaluation, and analysis of one or more strategic and/or financing transactions
(the “Proposed Transaction”); and

      WHEREAS, each Board deems it to be in the best interests of the Corporation and each
Managed Entity to appoint Jonathan Goulding as its Chief Restructuring Officer.

        NOW THEREFORE BE IT RESOLVED, that Jonathan Goulding, be, and hereby is,
appointed to serve as the Chief Restructuring Officer of the Corporation and the Managed Entities
for such a term, and shall exercise such powers and perform such duties, as shall be determined by
the Boards, and in accordance with the terms and conditions of that certain engagement letter,
dated as of September 29, 2019, by and among the Corporation and Alvarez & Marsal North
America, LLC (“A&M”).
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II.    Appointment of Interim Chief Operating Officer

        WHEREAS, each Operating Agreement of each Managed Entity, sets forth that each Board
may appoint subordinate officers and agents as it shall deem necessary, who shall hold their offices
for such terms and shall exercise such powers and perform such duties as shall be determined from
time to time by such Board, without amendment to the Operating Agreement being required;

        WHEREAS, each Board deems it to be in the best interests of each applicable Managed
Entity to appoint an interim Chief Operating Officer to assist the Corporation and the Managed
Entities in their review, evaluation, and analysis of one or more Proposed Transactions;

      WHEREAS, each Board deems it to be in the best interests of the Corporation and each
Managed Entity to appoint Matthew Katz as the interim Chief Operating Officer.

        NOW THEREFORE BE IT RESOLVED, that Matthew Katz, be, and hereby is, appointed
to serve as the interim Chief Operating Officer of the Corporation and the Managed Entities for
such a term, and shall exercise such powers and perform such duties, as shall be determined by the
Boards, and in accordance with the terms and conditions of that certain engagement letter, dated
as of September 29, 2019, by and among the Corporation and SSA & Company (“SSA”).

III.   Chapter 11 Filing

       WHEREAS, each Board has considered presentations by the financial and legal advisors
of each of the Managed Entities regarding the liabilities and liquidity situation of each of the
Managed Entities, the strategic alternatives available to it, and the effect of the foregoing on each
Managed Entity’s business;

       WHEREAS, each Board has had the opportunity to consult with the financial and legal
advisors of the Managed Entities and fully consider each of the strategic alternatives available to
the Managed Entities; and

       WHEREAS, each Board has had the opportunity to consult with the financial and legal
advisors of the Managed Entities and review the chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) preparation materials provided by the financial and legal advisors, and
each Board recommends the adoption of these resolutions.

        NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each Board, it
is desirable and in the best interests of each Managed Entity (including a consideration of its
creditors and other parties in interest) that each Managed Entity shall be, and hereby is, authorized
to file, or cause to be filed, a voluntary petition for relief (each a “Chapter 11 Case” and
collectively the “Chapter 11 Cases”) under the provisions of Bankruptcy Code in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and

       FURTHER RESOLVED, that the Chief Executive Officer, Executive Vice President,
Chief Financial Officer, Treasurer, Chief Strategy Officer, Chief Restructuring Officer, the
General Counsel, any Vice President or any Assistant Vice President, any Chief Operating Officer,
Chief Strategy Officer, Secretary or Assistant Secretary, any Manager, any Director, or any other
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duly appointed officer or other person acting at the direction of the foregoing officers of each
Managed Entity (collectively, the “Authorized Signatories”), acting alone or with one or more
other Authorized Signatories be, and they hereby are, authorized, empowered and directed to
execute and file on behalf of each Managed Entity all petitions, schedules, lists and other motions,
papers, or documents, and to take any and all action that they deem necessary, proper or convenient
to obtain such relief, including, without limitation, any action necessary to maintain the ordinary
course operation of each Managed Entity’s business.

IV.    Retention of Professionals

       WHEREAS, each Board has considered presentations by the financial and legal advisors
of each Managed Entity regarding the retention of such financial and legal advisors by each
Managed Entity.

        NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be, and
hereby is, authorized, empowered and directed to employ the law firm of Kirkland & Ellis LLP
(“Kirkland US”) and Kirkland & Ellis International LLP (together with Kirkland US,
“Kirkland”) as general bankruptcy counsel to represent and assist each Managed Entity in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Managed Entity’s rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized, empowered and directed to execute appropriate
retention agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
application for authority to retain the services of Kirkland;

         FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the law firm of Pachulski Stang Ziehl & Jones LLP
(“Pachulski”) as local bankruptcy counsel to represent and assist each Managed Entity in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance each Managed
Entity’s rights and obligations, including filing any motions, objections, replies, applications, or
pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of Pachulski;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm A&M, as restructuring advisor, and to
take any and all actions to advance each of each Managed Entity’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers and fees, and to cause to be filed an appropriate application for authority to retain the
services of A&M;

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm Lazard & Co., as financial advisor and
investment banker to represent and assist each Managed Entity in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Managed Entity’s rights and
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obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of Lazard;

        FURTHER RESOLVED, that that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm SSA to provide management services to
represent and assist each Managed Entity in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance each Managed Entity’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers and fees, and to cause to be filed an appropriate application for authority to retain the
services of SSA;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ the firm of Prime Clerk LLC (“Prime Clerk”) as
notice and claims agent to represent and assist each Managed Entity in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance each Managed Entity’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed appropriate applications
for authority to retain the services of Prime Clerk;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered and directed to employ any other professionals to assist each Managed
Entity in carrying out its duties under the Bankruptcy Code; and in connection therewith, each of
the Authorized Signatories, with power of delegation, is hereby authorized, empowered and
directed to execute appropriate retention agreements, pay appropriate retainers and fees, and to
cause to be filed an appropriate application for authority to retain the services of any other
professionals as necessary, proper or convenient; and

       FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is, with
the power of delegation, authorized, empowered, and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers, and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Signatories deem necessary, proper, or desirable in connection with each Managed Entity’s
Chapter 11 Case, with a view to the successful prosecution of such case.

V.     Cash Collateral, Debtor in Possession Financing, and Adequate Protection

        WHEREAS, each Managed Entity is party to that certain Credit Agreement
(the “Prepetition ABL Credit Agreement”), dated as of March 7, 2017, providing access to a
credit facility with the lenders party thereto and JPMorgan Chase Bank, N.A., as administrative
agent (the “Prepetition ABL Agent”), pursuant to which the lenders party thereto have made
certain loans and financial accommodations available to the Managed Entities (as may be amended
from time to time, the “Prepetition ABL Facility”);
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        WHEREAS, reference is made to that certain debtor-in-possession credit agreement
providing for a senior secured super-priority revolving credit facility of up to $275,000,000 in the
aggregate (together with all exhibits, schedules, and annexes thereto, as amended, amended and
restated, supplement or otherwise modified from time to time, the “DIP ABL Credit Agreement”)
dated as of, or about, the date hereof, that sets forth the terms and conditions of the debtor-in-
possession revolving credit financing to be provided to the Managed Entities by the lenders listed
therein and party thereto from time to time (the “DIP ABL Lenders”) and JPMorgan Chase Bank,
N.A. to serve as administrative agent thereto (the “DIP ABL Agent”);

       WHEREAS, reference is made to that certain debtor-in-possession credit agreement
providing for a senior secured super-priority term loan credit facility of an aggregate principal
amount of up to $75,000,000 (together with all exhibits, schedules, and annexes thereto, as
amended, amended and restated, supplement or otherwise modified from time to time, the “DIP
TL Credit Agreement” and together with the DIP ABL Credit Agreement, the “DIP Credit
Agreements”) dated as of, or about, the date hereof, that sets forth the terms and conditions of the
debtor-in-possession term loan credit financing to be provided to the Managed Entities by the
lenders listed therein and party thereto from time to time (the “DIP TL Lenders” and together
with the DIP ABL Lenders, the “DIP Lenders”) and TPG Sixth Street Partners, LLC to serve as
administrative agent thereto (the “DIP TL Agent”); and

       WHEREAS, each Managed Entity will obtain benefits from (a) the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition secured lenders (collectively,
the “Prepetition Secured Lenders”) under the Prepetition ABL Facility, and (b) the incurrence
of debtor-in-possession financing obligations pursuant to the DIP Credit Agreements (collectively,
the “DIP Financing”).

        NOW, THEREFORE, BE IT RESOLVED, that in order to use and obtain the benefits of
(a) the DIP Financing and (b) the Cash Collateral, and in accordance with section 363 of the
Bankruptcy Code, each Managed Entity will provide certain liens, claims, and adequate protection
to the Prepetition Secured Lenders and to the DIP Lenders to secure the obligations of the Managed
Entities under the DIP Credit Agreements (the “DIP Obligations”) as documented in a proposed
order in interim and final form (the “DIP Orders”) and submitted for approval to the Bankruptcy
Court and related loan documents;

         FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
each Managed Entity is or will be subject, and the actions and transactions contemplated thereby
are hereby authorized, adopted, and approved, and each of the Authorized Signatories of each
Managed Entity be, and hereby is, authorized and empowered, in the name of and on behalf of
each Managed Entity, to take such actions and negotiate or cause to be prepared and negotiated
and to execute, deliver, perform, and cause the performance of, each DIP Order and such other
agreements, certificates, instruments, receipts, petitions, motions, or other papers or documents
relating to the transactions contemplated thereby to which each Managed Entity is or will be a
party, including, but not limited to, any security agreements, pledge agreements, guaranty
agreement, assignment documents, notices, financing statements, mortgages, intellectual property
filings, tax affidavits, fee letters and other instruments as any of the DIP Agents or requisite DIP
Lenders may reasonably request or as may be necessary or appropriate to create, preserve and
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perfect the liens of the DIP Agents or the Prepetition ABL Agent, purported or required pursuant
to any of the transaction documents to be created in the Collateral (as defined in each DIP Credit
Agreement and the Prepetition ABL Credit Agreement), such agreements with third parties
(including, without limitation, bank agency agreements, lockbox agreements, control agreements,
landlord agreements and warehouse letters) relating to the Collateral, any swap contracts or
hedging agreements and such other loan documents, guarantees, instruments, certificates and
documents as may be reasonably requested by any of the DIP Agents, the requisite DIP Lenders
or required by the DIP Orders, DIP Credit Agreements or any of the foregoing (collectively with
the DIP Orders, the “DIP Documents”), with such changes, additions, and modifications thereto
as any Authorized Signatory executing the same shall approve, such approval to be conclusively
evidenced by such Authorized Signatory’s execution and delivery thereof;

        FURTHER RESOLVED, that the incurrence of the liabilities and obligations arising from
each DIP Order and each DIP Document by each Managed Entity party thereto, (i) is necessary
and convenient to the conduct, promotion and attainment of the business of the Managed Entity,
and (ii) may reasonably be expected to benefit the Managed Entities, directly or indirectly;

        FURTHER RESOLVED, that each Managed Entity, as debtor and debtor in possession
under the Bankruptcy Code be, and hereby is, authorized to incur the DIP Obligations, including
the borrowing of the loans under the DIP Credit Agreements, and other obligations related to the
DIP Financing and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Documents, including granting liens on and security interests in its
assets, including the Collateral, to the DIP Agents or the Prepetition ABL Agent to secure such
obligations (collectively, the “DIP Transactions”);

        FURTHER RESOLVED, that each of the Authorized Signatories of each Managed Entity,
acting alone or with one or more other Authorized Signatories, be, and hereby is, authorized,
directed and empowered in the name of, and on behalf of, each Managed Entity, as debtors and
debtors in possession, to take such actions as in their discretion is determined to be necessary,
desirable, or appropriate to execute the DIP Transactions, including the negotiation, execution and
delivery of: (a) the DIP Documents; (b) such other instruments, certificates, notices, assignments,
and other documents, including, without limitation, any amendments to any DIP Documents, as
may be reasonably requested by the DIP Agents; and (c) such forms of deposit account control
agreements, officer’s certificates, and compliance certificates as may be required by the DIP
Documents, in the name of and on behalf of each Managed Entity, with such changes therein as
shall be approve by the Authorized Signatories executing the same, with such execution by said
Authorized Signatory to constitute conclusive evidence of his or her approval of the terms thereof,
including any departures therein from any form presented to the Boards;

        FURTHER RESOLVED, that each of the Authorized Signatories of each Managed Entity,
acting alone or with one or more other Authorized Signatories, be, and hereby is, authorized,
directed and empowered in the name of, and on behalf of, each Managed Entity, as debtors and
debtors in possession, to guarantee the DIP Obligations under the DIP Documents and to assign,
transfer, pledge and grant to each DIP Agent or the Prepetition ABL Agent, for the ratable benefit
of the respective or applicable Secured Parties (as defined in each DIP Credit Agreement (or
similar term defined therein) and Prepetition ABL Credit Agreement), a security interest in all or
substantially all the assets of such Managed Entity, as collateral security for the prompt and
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complete payment and performance when due of the DIP Obligations under the DIP Credit
Agreements, the DIP Orders, and the other DIP Documents to which such Managed Entity is a
party or which it is subject to and to take or cause to be taken any such actions as may be necessary,
appropriate or desirable to cause the Managed Entities to create, perfect and maintain a security
interest in the Managed Entities’ property or assets constituting Collateral as described or
contemplated in the DIP Documents;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized and empowered to take all actions or to not take any action in the name of the
Corporation and each other Managed Entity with respect to the transactions contemplated by these
resolutions as the sole shareholder, partner, general partner, sole member, member, manager or
managing member of each subsidiary of the Corporation or other Managed Entity, respectively,
whether existing now or in the future, in each case, as such Authorized Signatory shall deem
necessary or desirable in such Authorized Signatory’s reasonable business judgment, including
without limitation, the authorization of resolutions and agreements necessary to authorize the
execution, delivery and performance pursuant to the DIP Documents (including, without
limitation, certificates, affidavits, financing statements, notices, reaffirmations and amendments
and restatements thereof or relating thereto) as may be necessary, appropriate or convenient to
effectuate the purposes of the transactions contemplated therein;

        FURTHER RESOLVED, that each of the Authorized Signatories of each Managed Entity
be, and hereby is, authorized, directed, and empowered in the name of, and on behalf of, each
Managed Entity to file, or to authorize the DIP Agents to file, any Uniform Commercial Code
(the “UCC”) financing statements, any other equivalent filings, any intellectual property filings
and recordation, and any necessary assignments for security or other documents in the name each
Managed Entity that the DIP Agents or the Prepetition ABL Agent deem necessary or appropriate
to perfect any lien or security interest granted under the DIP Orders and the DIP Documents,
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of each Managed Entity and such other filings in respect
of intellectual and other property of each Managed Entity, in each case as the DIP Agents or the
Prepetition ABL Agent may reasonably request to perfect the security interests of the DIP Agents
or the Prepetition ABL Agent under the DIP Orders or any of the other DIP Documents;

        FURTHER RESOLVED, that the pledge by the Managed Entities, of the Pledged
Collateral (as defined in the DIP Credit Agreements or related security or pledge agreements (or
similar term defined therein)) held by it, the transfer of such Pledged Collateral to the DIP Agents
and any transfer from to time by the DIP Agents to any other person pursuant to the exercise of
any rights under any collateral document and all steps required of any subsidiaries of the Managed
Entities to give effect to such pledge and transfers, including the issuance of certificates of
ownership and the entering of the names of any transferees onto such subsidiaries’ equity holder
registers, are hereby approved; and that each of the Authorized Signatories of each of the Managed
Entities is hereby authorized, empowered and directed on behalf of such applicable Managed
Entity, to execute and deliver any such other transfer documents or instruments;
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        FURTHER RESOLVED, that each of the Authorized Signatories of each Managed Entity
be, and hereby is, authorized, directed, and empowered in the name of, and on behalf of, each
Managed Entity to take all such further actions, including, without limitation, to pay all fees and
expenses payable in accordance with the terms of the DIP Documents, to arrange for and enter into
supplemental agreements, amendments, instruments, certificates or documents relating to the
transactions contemplated by any of the DIP Documents and to execute and deliver all such
supplemental agreements, amendments, instruments, certificates or documents in the name and on
behalf of each of the Managed Entities, which shall in their sole judgment be necessary, proper or
advisable in order to perform such Managed Entities’ obligations under of in connection with any
of the DIP Documents and the transactions contemplated therein (execution by such Authorized
Signatory to constitute conclusive evidence of such judgment), and to carry out fully the intent of
the foregoing resolution. The performance of any such further act or thing and the execution of
any such document or instrument by any of the Authorized Signatories of the Managed Entities
pursuant to these resolutions shall be conclusive evidence that the same have been authorized and
approved by the Managed Entities in every respect; and

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized to execute and deliver to the DIP Agents or the Prepetition ABL Agent, as applicable,
and to perform the applicable Managed Entity’s obligations under, all other documents,
certificates, instruments, agreements and writings including any interest rate swaps, caps, collars
or similar hedging agreement and any financing statements (or amendments thereto) that may be
contemplated by, or required in connection with, the DIP Documents, these resolutions and the
transactions described herein and therein, and to do all such acts and things as any person
hereinafter authorized to execute such documents on behalf of the Managed Entity determines to
be necessary or advisable in connection with or as contemplated by, or for the purpose of giving
effect to, or carrying out the provisions of, the DIP Documents, such determination to be
conclusively evidenced by such person’s signature thereon or completion thereof, as applicable.

VI.    General Resolutions

        NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories of each of the
Managed Entities be, and each of them hereby is, authorized, empowered and directed to execute,
acknowledge, verify, deliver, and file any and all such other agreements, documents, instruments,
and certificates and to take such other actions as may be necessary, proper or appropriate in order
to carry out the intent and purposes of the foregoing resolutions;

        FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and
expenses incurred in the name of and on behalf of the Corporation or other Managed Entity the
Corporation by any officer, director or other Authorized Signatory of the Corporation or such
Managed Entity in connection with or related to the matters set forth or contemplated by the
foregoing resolutions be, and they hereby are, approved, ratified, and confirmed in all respects as
fully as if such actions had been presented to the Boards for approval prior to such actions being
taken; and

       FURTHER RESOLVED, that an Authorized Signatory of the Managed Entities is hereby
authorized to certify to third parties with respect to adoption of these resolutions in the form and
substance satisfactory to them.
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    The undersigned agree that this Omnibus Action by Unanimous Written Consent shall be
added to the corporate records of each Managed Entity and made a part thereof, and the
undersigned further agree that the resolutions set forth hereinabove shall have the same force and
effect as if adopted at a meeting duly noticed and held called and constituted, pursuant to each
Managed Entity’s Operating Agreement and the applicable laws of the jurisdiction in which such
Managed Entity is organized. Facsimile, scanned, or electronic signatures shall be acceptable as
originals.

        IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
date first set forth above.

                                          * * * * *
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                                             Exhibit A

                                          Managed Entities


Alameda Holdings, LLC
Forever 21 International Holdings, Inc.
Forever 21 Logistics, LLC
Forever 21 Real Estate Holdings, LLC
Forever 21 Retail, Inc.
Innovative Brand Partners, LLC
Riley Rose, LLC
